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 1                                                              HONORABLE MARSHA J. PECHMAN

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 5
                                 UNITED STATES DISTRICT COURT
 6                              WESTERN DISTRICT OF WASHINGTON
                                          AT SEATTLE
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 8   JOSHUA HILLS, individually and as the
     Personal Representative of the ESTATE OF
 9   EDWARD LOWELL HILLS,                                 No.     3:19-cv-05634-MJP

10                                  Plaintiff,            STIPULATED MOTION TO TAKE
                                                          EXPERT DEPOSITION BEYOND THE
11                  v.                                    DISCOVERY CUTOFF

12   MICHAEL J. GENTRY, an individual; and                Noted for Consideration:
     CITY OF FORKS, a Washington municipal                January 11, 2021
13   corporation,

14                                  Defendants.

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            On December 8, 2020, the parties filed an Amended Stipulated Motion to Continue Certain
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     Case Schedule Deadlines. (Dkt. 44.) On that same day, the Court issued its Order on Stipulated
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     Motion to Amend Case Schedule and set the discovery deadline to be completed by January 18,
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     2021. (Dkt. 45.) Defendants requested to take the depositions of plaintiff’s disclosed experts. (Dkt.
19
     44, 3:3-8; Coluccio Decl., Ex. A-C.) The parties have diligently worked to complete discovery by
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     January 18, 2021. (Coluccio, ¶3.) However, the deposition of plaintiff’s expert, Norman Stamper,
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       STIPULATED MOTION TO TAKE EXPERT
       DEPOSITION BEYOND THE DISCOVERY
                                                                  CHRISTIE LAW GROUP, PLLC
       CUTOFF- 1                                                 2100 WESTLAKE AVENUE N., SUITE 206
       (3:19-cv-05634-MJP)                                              SEATTLE, WA 98109
                                                                           206-957-9669
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 1   disclosed on January 4, 2021, has been scheduled for January 20, 2021, based on his and the

 2   parties’ availability. The parties seek permission from the Court to allow this deposition to occur

 3   after the discovery cutoff deadline. (Id.)

 4           DATED this 11th day of January, 2021.

 5    DeLUE LAW PLLC                                   MULLIN, ALLEN & STEINER, PLLC

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 9         Attorney for Plaintiffs                          Attorney for Plaintiffs

10    TURNER KUGLER LAW, PLLC                          CHRISTIE LAW GROUP, PLLC

11    By           /s/ John T. Kugler                  By           /s/ Megan M. Coluccio
           John T. Kugler, WSBA #19960                      Thomas P. Miller, WSBA #34473
12         6523 California Avenue SW, #454                  Megan M. Coluccio, WSBA #44178
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14         Attorney for Defendant Michael Gentry            Email: tom@christielawgroup.com
                                                            Email: megan@christielawgroup.com
15                                                          Attorney for Defendant City of Forks

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       STIPULATED MOTION TO TAKE EXPERT
       DEPOSITION BEYOND THE DISCOVERY
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                                                                          206-957-9669
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 1                                               ORDER

 2          THIS MATTER having come on regularly for hearing upon the stipulated motion of the

 3   parties above contained, and the Court being fully advised on the premises, now, therefore, it is

 4   hereby ORDERED that the following deposition may take place beyond the current discovery

 5   deadline of January 18, 2021:

 6          •    Norman Stamper, Ph.D.

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                 DATED this 12th day of January, 2021.
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                                                 HONORABLE MARSHA J. PECHMAN
11
                                                 United States District Judge
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       STIPULATED MOTION TO TAKE EXPERT
       DEPOSITION BEYOND THE DISCOVERY
                                                                CHRISTIE LAW GROUP, PLLC
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